        Case 1:21-cr-00258-TFH Document 34 Filed 11/17/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,           :
                                    :
            Plaintiff               :
                                    :
v.                                  :       Criminal No. 21-CR-00258-TFH
                                    :
TROY SARGENT,                       :
                                    :
            Defendant.              :


           DEFENDANT’S UNOPPOSED MOTION TO RECONSIDER
               DENIAL OF MOTION TO DISMISS AS MOOT

      Now comes Defendant, Troy Sargent, with the assent of the government,

and moves this Honorable Court to reconsider its denial of Defendant’s Motion

to Dismiss as moot in light of the recent Superseding Indictment. See Dkt. 32,

Superseding Indictment; Minute Order, November 15, 2021. The parties have

conferred and agree that the arguments presented for and against the

dismissal of the original Indictment apply equally to the Superseding

Indictment. See Dkt. 26, 28, 31. Defendant therefore requests that the case

again be scheduled for a hearing on the Motion to Dismiss. Both parties will be

prepared to argue the Motion to Dismiss on November 19, 2021. That date was

previously set for a hearing on the motion, but was recently changed to a

Status Conference by the Court in light of the Superseding Indictment. Minute

Order, November 15, 2021. In the event the Court is not available for a hearing

on November 19th, the Defendant requests that another hearing date be set at a

time convenient to the Court.


                                        1
        Case 1:21-cr-00258-TFH Document 34 Filed 11/17/21 Page 2 of 2




      The government has represented to the defense that a Superseding

Indictment was obtained in many cases stemming from the events at the U.S.

Capitol on January 6, 2021 in order to include additional charging language,

but not in response to the arguments made in Mr. Sargent’s Motion to Dismiss.




                                            Respectfully Submitted,
                                            TROY SARGENT
                                            By his attorneys,

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                             Certificate of Service

       I hereby certify that this document was sent electronically to those
registered through ECF on November 17, 2021.

                                            /s/ Joshua R. Hanye
                                            Joshua R. Hanye




                                        2
